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IN THE UNITED STATES DISTRICT COURT TOE AUS
FOR THE WESTERN DISTRICT OF WISCONSIN .

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UNITED STATES OF AMERICA INDICTMENT
Vv. Case No. \O -¢R- HS-WMC
18 U.S.C. § 2251(a)
DAVID OHMAR HARRIS, 18 U.S.C. § 875(d)
18 U.S.C. § 2261A(2)(B)
Defendant.
THE GRAND JURY CHARGES:
COUNT 1

Between on or about December 1, 2016, and on or about August 20, 2017, exact
date unknown, in the Western District of Wisconsin and elsewhere, the defendant,
DAVID OHMAR HARRIS,
knowingly and intentionally used, persuaded, induced, and coerced Known Victim
#1, an individual who had not attained the age of 18 years, to engage in sexually
explicit conduct for the purpose of transmitting a live visual depiction of such
conduct, and such conduct was actually transmitted using any means or facility of
interstate commerce.
' (In violation of Title 18, United States Code, Section 2951(a)).
COUNT 2

On or about June 11, 2018, in the Western District of Wisconsin and elsewhere,

the defendant,
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DAVID OHMAR HARRIS,
knowingly used, persuaded, induced, and coerced Known Victim #1, an individual
who had not attained the age of 18 years, to engage in sexually explicit conduct for
the purpose of producing visual depictions of such conduct, and such visual
depictions were transmitted using any means or facility of interstate commerce,
specifically, visual depictions of KV #1 masturbating were transmitted via Facebook.
~ (In violation of Title 18, United States Code, Section 2251(a)).
COUNT 3
On or about June 11, 2018, in the Western District of Wisconsin and elsewhere,
the defendant,
DAVID OHMAR HARRIS,
with the intent to extort a thing of value from Known Victim #1, knowingly
transmitted in interstate commerce communications containing threats to injure the
reputation of Known Victim #1.
(In violation of Title 18, United States Code, Section 875(d)).
COUNT 4
Between on or about December 1, 2016, to on or about June 12, 2018, in the
Western District of Wisconsin and elsewhere, the defendant,
DAVID OHMAR HARRIS,
with the intent to harass, intimidate, and cause substantial emotional distress to

Known Victim #1, used facilities of interstate and foreign commerce, including
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Facebook and Kik, to engage in a course of conduct that caused, attempted to cause,
and would be reasonably expected to cause substantial emotional distress to Known
Victim #1.

(In violation of Title 18, United States Code, Section 2261A(2)(B)).

 

 

A TRUE BILL
7 PRESIDING JUROR
LI seamen returned: 2. Le;
SCOTT C. BLADER
United States Attorney
